                  UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF NORTH CAROLINA

AFRIKA WILLIAMS, on behalf of
herself and all others similarly situated,

              Plaintiff,
v.

DUKEHEALTH,
and a Defendant Class of Facebook            Case No. 1:22-cv-00727-WO-JEP
Partner Medical Providers,

              Defendants.


                       AMENDED JOINT RULE 26(F) REPORT

        1.    Pursuant to Fed. R. Civ. P. 26(f) and LR16.1(b), a meeting was held on July

1, 2024 via Zoom and was attended by Kate Baxter-Kauf, Peter Burke, and Maureen Kane

Berg, attorneys for Plaintiff and the putative class, and Elizabeth Scully, attorney for

Defendant.

        2.    Discovery Plan. The parties propose to the Court the following discovery

plan:

              a. There is no pending dispositive motion, but the parties propose that

                 Discovery should be postponed pending an attempt at early resolution of

                 the matter with a private mediator.

              b. The “commencement date” of discovery will be: 10 business days after

                 the parties complete private mediation and notify the Court that the matter

                 did not settle. Private mediation is currently tentatively scheduled for

                 September 26, 2024, so the discovery should commence October 10,



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        2024.

     c. Discovery will be needed on the following subjects: Plaintiff anticipates

        conducting discovery regarding the nature, duration, and scope of the

        alleged collection of information by Defendant, liability, damages, all

        third-party tracking technology located on website(s) used or maintained

        by Defendant, the scope of persons affected by Defendant’s use of

        tracking technology, information to establish the appropriate class period,

        insurance policies, and other related information. Defendant anticipates

        conducting discovery from Plaintiff on her claims, including, but not

        limited to the following: 1) any materials related to Plaintiff’s use of Meta

        products; 2) any materials related to Plaintiff’s use of Defendant’s

        websites; 3) any materials related to Plaintiff’s dissemination of

        information about her health; and 4) any materials related to Plaintiff’s

        alleged damages. Defendant will additionally seek discovery related to

        the lack of commonality, typicality, and the other elements required by

        Rule 23 for class certification.

     d. Discovery shall be placed on a case-management track established in LR

        26.1. The parties agree that the appropriate plan for this case (with any

        stipulated modification by the parties as set out below) is that designated

        in LR 26.1(a) as: Exceptional.

            i. The date for the completion of all discovery (general and expert)

                is: 9 months from the date of the commencement date of discovery



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                         as established above, which is July 10, 2025.

                     ii. Stipulated modifications to the case management track include:

                         N/A.

                    iii. Reports required by Rule 26(a)(2)(B) and disclosures required by

                         Rule 26(a)(2)(C) are due during the discovery period:

                             1. From Plaintiff(s) by 2 months before the end of discovery,

                                which is May 9, 2025.

                             2. From Defendant(s) by 1 month before the end of discovery,

                                which is June 10, 2025.

                    iv. Supplementations will be as provided in Rule 26(e) or as otherwise

                         ordered by the court.

       3.     Mediation. The parties agree that an early mediation is appropriate prior to

the commencement of the discovery period, the exact date to be set by the mediator after

consultation with the parties. The parties agree that the mediator shall be Jill Sperber. The

parties notify the Court that a date for mediation has been set, and is currently tentatively

set to occur September 26, 2024. The parties will advise the Court if that date moves for

any reason as soon as practicable.

       4.     Preliminary Deposition Schedule. Preliminarily, the parties agree to the

following schedule for depositions: deposition to be conducted after four months of written

and document discovery, starting February 10, 2025, and completed within two months,

by April 10, 2025. The parties will update this schedule at reasonable intervals.

       5.     Other items.



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     a. Plaintiff(s) should be allowed until 60 days after the commencement of

        discovery to request leave to join additional parties or amend pleadings,

        which is December 10, 2024.

     b. Defendant(s) should be allowed until 60 days after the commencement of

        discovery to request leave to join additional parties or amend pleadings,

        which is December 10, 2024.

     c. After these dates, the Court will consider, inter alia, whether the granting

        of leave would delay trial.

     d. The parties have discussed special procedures for managing this case,

        including reference of the case to a Magistrate Judge on consent of the

        parties under 28 U.S.C. §§636(c), or appointment of a master: no

        agreements on any of these matters.

     e. Trial of the action is expected to take approximately 10 days. A jury trial

        has been demanded.

     f. The parties discussed whether the case will involve the possibility of

        confidential or sealed documents. The case may involve confidential or

        sealed documents and the parties will separately file a LR 5.5 Report.

     g. The basis of federal subject matter jurisdiction is diversity. The parties

        have reviewed the Federal Rule 7.1 and Local Rule 7.7 disclosures to

        confirm diversity, including citizenship of all members of an LLC and

        partners of a partnership.




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                       Respectfully submitted,

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